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WESTERN DISTRICT OF TENNESSEE

 

   

U. S. A. vs. Alfred Jenkins

    

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COMES NOW Dawn L. Brown , PROBATION OFFICER OF TI-IE COURT presenting an official

report upon the conduct and attitude of Alii'ed Jenlcins , who was placed on supervision by the Honorable Bernice

B. Dongd sitting in the Court at Memphis , TN on the 15th day of JanLry, 2004 *, who fixed the period of

supervision at four (4) years , and imposed the general terms and conditions theretofore adopted by the Court and
also imposed Special Conditions and terms as follows:

 

Petition on Probation and Supervised Release

1. The defendant shall participated in a program (out patient/in patient) for narcotic addiction, dmg or alcohol
dependency, including testi g for substance abuse. The defendant shall contribute to the costs of services
of such treatrnent, in an amount to be determined reasonable by the Probation OHicer.

2. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, of

making an obligation for any maj or purchases in excess of $500.00 without the approval of the Probation

Officer.

The defendant shall provide the Probation Officer with access to any requested financial information

The defendant shall seek and maintain lawful full-time employment

The defendant shall pay restitution in the amount of $22,089.71. (Balance $ 22,089.71)

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* Original term of Supervised Release began on October l4, 2004. Supervision was revoked on April 26,
2005, with a sentenced of Time Served and a forty-eight (48) month term of Supervised Release to follow.
All previously imposed Special Conditions were re-imposed.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

When originally sentenced, Alii'ed Jenkins was ordered to pay restitution in the amount of $22, 089.71. After
revieng Mr. Jenkins monthly income and necessary expenses, it was determined that a payment plan requiring
ten percent (10%) of his gross monthly income would be appropriate

PRAYING THA'I` THE COURT WILL ORDER that Alfred Jenkins restitution payments be set at ten percent
(10%) of his monthly gross income

 

 

 

ORDER OF COURT
Consider and orde this-§J/ day
o% 20___, and ordered filed
and ade a part of the records in the above United States Probation Oflicer
case.

Place: Memnhis. Tennessee

Bernice B. Donald Date: Julv 25. 2005
United States District Judge

This document entered on the docket sheet ln comp!iance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:03-CR-20229 Was distributed by faX, mail, or direct printing on
August l, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

